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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,                                             23-cr-00118 (AT)

      v.                                                        MOTION FOR ADMISSION
                                                                    PRO HAC VICE
HO WAN KWOK, et al.
                                                                         ECF CASE
                Defendants.



           Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern

 and Eastern Districts of New York, Stephen A. Best hereby moves this Court for an Order for

 admission to practice Pro Hac Vice to appear as counsel for Defendant Ho Wan Kwok in the

 above-captioned action.

           I am in good standing of the bars of the state of Virginia and of the District of

 Columbia, and there are no pending disciplinary proceedings against me in any state or federal

 court. I have never been convicted of a felony. I have never been censured, suspended,

 disbarred or denied admission or readmission by any court. I have attached the affidavit

 pursuant to Local Rule 1.3.

 DATED: March 27, 2023                                  Respectfully submitted,

                                                        BROWN RUDNICK LLP



                                                        By: /s/ Stephen A. Best
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